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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                              Case No.: 24-cv-22046-JB

 INTERNATIONAL WATCHMAN,
 INC.,

              Plaintiff,
       v.

 THE INDIVIDUALS, PARTNERSHIPS,
 AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON
 SCHEDULE “A,”

             Defendants.
 ____________________________________/

                     ORDER ON PLAINTIFF’S
            EX PARTE MOTION FOR ORDER AUTHORIZING
         ALTERNATE SERVICE OF PROCESS ON DEFENDANTS
       PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 4(f)(3)

       THIS CAUSE is before the Court on Plaintiff’s Ex Parte Motion for Order

 Authorizing Alternate Service of Process on Defendants Pursuant to Federal Rule of

 Civil Procedure 4(f)(3) (the “Motion”), ECF No. [16].

       This is a federal trademark counterfeiting and infringement case in which

 Plaintiff alleges that Defendants, through e-commerce stores, are advertising,

 promoting, offering for sale, or selling goods bearing or using what Plaintiff has

 claimed are counterfeits and infringements of Plaintiff’s registered trademark.

       In the Motion, Plaintiff requests an order authorizing service of process on

 Defendants, the individuals, partnerships, and unincorporated associations

 identified on Schedule “A” to the Complaint, “via electronic mail . . . and via website

 posting.” ECF No. [16] at 2. Plaintiff contends that electronic service by these means
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 is sufficient to provide notice to Defendants, who reside in or operate from the People’s

 Republic of China (“China”) or other foreign countries and have established Internet-

 based businesses and utilize electronic means as reliable forms of contact. Id. at 8;

 ECF No. [16-1] at ¶ 9.

    I.       LEGAL STANDARD

          Federal Rule of Civil Procedure Rule 4(h) outlines the proper means of service

 upon foreign corporations, including, “at a place not within any judicial district of the

 United States, in any manner prescribed by Rule 4(f) for serving an individual, except

 personal delivery under (f)(2)(C)(i)”. Fed. R. Civ. P. 4(h)(2). An alternative method

 of service under Rule 4(f)(3) is available without first attempting service by other

 means. See, e.g., Rio Props., Inc. v. Rio Int’l Interlink, 284 F.3d 1007, 1015 (9th Cir.

 2002). “So especially in a circumstance where service upon a foreign corporation

 under Rule 4(f)(1) or 4(f)(2) has been cumbersome, district courts have broad

 discretion under Rule 4(f)(3) to authorize other methods of service that are consistent

 with due process and are not prohibited by international agreements.” Brookshire

 Brothers, Ltd. v. Chiquita Brands Int’l, Inc., No. 05-CIV-21962, 2007 WL 1577771, at

 *2 (S.D. Fla. May 31, 2007) (citing Prewitt Enters., Inc. v. Org. of Petroleum Exporting

 Countries, 353 F.3d 916, 921, 927 (11th Cir. 2003)).

    II.      DISCUSSION

          The Court finds that alternative service of process under Rule 4(f)(3) is

 warranted, and the means of service proposed by Plaintiff are acceptable. First, the

 Hague Convention does not specifically preclude service by e-mail and website

 posting. Where a signatory nation to the Hague Convention has objected to an


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 alternative means of service, that objection is limited to those specific means and does

 not represent an objection to other forms of service, such e-mail or website posting.

 Stat Med. Devices, Inc. v. HTL-Strefa, Inc., No. 15-cv-20590, 2015 WL 5320947, at *3

 (S.D. Fla. Sept. 14, 2015) (noting that an objection to one means of service under the

 Hague Convention “does not equate to an express objection” to other means of

 service). A court acting under Rule 4(f)(3) therefore remains free to order alternative

 means of service if the signatory nation at issue has not expressly objected to those

 means. See Gurung v. Malhotra, 279 F.R.D. 215, 219 (S.D.N.Y. 2011).

       Here, Plaintiff has “good cause to believe that Defendants are residing and/or

 operating from [China] . . . or other foreign countries and/or redistribute products

 from sources in those locations.” ECF No. [16-1] at ¶ 9. The United States and China

 are signatories to the Hague Convention, which does not specifically preclude service

 by e-mail and Internet publication. Moreover, China has not objected to service by e-

 mail or Internet publication. While China has declared that it opposes the service of

 documents in its territory by the alternative means of service outlined in Article 10

 of the Hague Convention, including the service of process by postal channels, it has

 not expressly objected to service via e-mail or publication. Accordingly, service by

 these means do not violate an international agreement.

       Additionally, due process is not offended by the proposed methods of service.

 Defendants have at least one known and valid form of electronic contact, and Plaintiff

 has created a website for the sole purpose of providing notice of this action to

 Defendants. The address to this website will be provided to Defendants through their




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 known e-mail accounts and onsite contact forms embedded in Defendants’ respective

 e-commerce stores or websites.

       Service by e-mail and website posting is therefore reasonably calculated, under

 all circumstances, to apprise Defendants of the pendency of the action and afford

 them an opportunity to present their objections. Moreover, these are the most likely

 means of communication to reach Defendants, who operate via the Internet and rely

 on electronic communications for the operation of their businesses. See Tiffany (NJ)

 LLC v. DORAPANG Franchise Store, No. 18-cv-61590-UU, 2018 WL 4828430, at *3

 (S.D. Fla. July 17, 2018).

       Thus, the Court will exercise its discretion to allow service on Defendants

 through e-mail and website posting. Accordingly, it is hereby ORDERED AND

 ADJUDGED that the Motion is GRANTED. Plaintiff shall serve the Complaint,

 Summons, and all other filings and discovery in this matter upon each Defendant:

       a)     via email by notifying Defendants of the address to Plaintiff’s designated

 website at the e-mail accounts provided by each Defendant as part of the data related

 to its e-commerce store, including customer service e-mail addresses and onsite

 contact forms, or by the e-commerce platform e-mail for each of the e-commerce

 stores; and/or

       b)     by sending a message to each Defendant through the messaging service

 that the marketplace uses to communicate with its sellers containing a link to a drive

 where the Complaint, Summons, and other filings in this action can be accessed and

 downloaded; and/or




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       c)    via website by publicly posting a copy of the Complaint, Summons, and

 all filings in this matter on Plaintiff’s designated website appearing at the URL

 www.sriplaw.com/notice.

       DONE AND ORDERED in Miami, Florida, this 17th day of June, 2024.

                                _______________________________________________
                                JACQUELINE BECERRA
                                UNITED STATES DISTRICT JUDGE




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